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                       United States v. Phillip Braun, et al., 19-CR-80030-WPD
                                               Exhibit List
             Exhibit                                Description
                1         ECF No. 261-1 GOV_00601403 Blackstone Labs website
                2         ECF No. 261-2 Government Discovery Log
                3         ECF No. 261-3 Dec. 2016 FDA Email re Dimethazine
                4         ECF No. 261-4 January 15, 2020 Discovery Letter
                5         ECF No. 261-5 Special Agent Kelly McCoy January 2017 Email
                6         ECF No. 261-6 DEA Email re dimethazine and
                7         ECF NO. 261-7 DEA Email re methyl-1-etiocholenolol
                8         ECF No. 261-8 Aff. Terrence Boos
                9         ECF No. 261-9 DEA-000009
               10         ECF No. 261-10 DEA-000090
               11         ECF No. 261-11 DEA-000061
               12         ECF No. 261-12 DEA-000004
               13         ECF No. 261-13 DEA-000001
               14         ECF No. 261-14 DEA-000029
               15         ECF No. 261-15 DEA-000036
                          ECF No. 276-1 Blackstone Search Warrant, Agent Affidavit, SW
               16         Application
               17         ECF No. 276-2 DEA June 2017 Email
               18         ECF No. 276-3 May 3, 2019 Government Discovery Letter
                          ECF No. 276-5 Blackstone Labs Search Warrant Inventory of
               19         Items Seized
                          ECF No. 259-1 1140 Holland Drive Labs Search Warrant
               20         Inventory of Items Seized
               21         ECF No. 259-2 April 3, 2019 Govt DiscoveryLetter
               22         ECF No. 259-April 24, 2019 Govt Discovery Letter
               23         ECF No. 259-4 Sept. 13, 2019 Govt Discovery Letter
               24         ECF No. 259-5 Blackstone SW Sketch
               25         Blackstone Labs Sketch Key - GOV-01868263
               26         Digital Evidence Worksheets (1090 Holland - Blackstone Labs)
               27         ROI re Search Warrants
               28         SCERS Activity Reports
               29         Signed Inventory of Evidence (Electronics - Blackstone Labs)
               30         ECF No. 235-1 Winsauer MOI
               31         ECF No. 256-1 August 4, 2016 James Boccuzzi Email
                          August 2016 James Boccuzzi Cell Phone Chat with Robert
               32         Aleong
               33         May 14, 2013 Certificate of Free Sale GOV-00671309
               34         August 8, 2016 Robert Aleong Email GOV-00671306
                          August 4, 2016 Email with Certificate of Free Sale GOV-
               35         01473502
               36         August 4, 2016 Email GOV-00671134
               37         August 4, 2016 Email GOV-01494155
               38         August 8, 2016 Email GOV_01486807
               39         Robert Aleong Memorandum of Interview
               40         Euphoria video
               41         February 13, 2017 SA Kelly McCoy Email re Search
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                       United States v. Phillip Braun, et al., 19-CR-80030-WPD
                                               Exhibit List
             Exhibit                                 Description
               42         February 13, 2017 SA Scott Schillinger Email re Search
                          Search Warrant Application and Affidavit - 1090 Holland Drive
               43         (Blackstone Labs)
               44         Blackstone Labs Search Warrrant Return w/ Inventory
               45         VBS Laboratories Ssearch Warrant Application and Affidavit
               46         VBS Laboratories Search Warrant Return w/ Inventory
               47         FDA Enforcement Report re Super DMZ RX 2.0
               48         FDA Enforcement report re Super DMZ RX 2.0 - Color image
               49         Digital Evidence Worksheet Anthony Ventrella phone
               50         Digital Evidence Worksheet Ashley Ventrella phone
               51         November 6, 2015 Articles of Incorporation VBS Laboratories
               52         April 28, 2016 VBS Laboratories Annual Report
               53         Sunbiz VBS Laboratories Voluntary Dissolution
               54         June 13, 2016 Articles of Incorporation Ventech Labs, LLC
               55         January 17, 2017 Ventech Labs Annual Report
                          ECF No. 40 Docket No. 9:18-cv-91352-KAM United States
               56         Statement
               57         ECF 40-1 Govt Ex. A
               58         FDA Interview Notes
               59         ECF No. 285-1 Aff. David Winsauer
               60         May 15, 2015 Extract from Anthony Ventrella's phone
               61         August 4, 2015 Extract from Anthony Ventrella's phone
               62         December 21, 2016 Extract from Anthony Ventrella's phone
               63         Notes Extract from Anthony Ventrella's Phone
                          ECF No. 262-1 throuhh 262-4 Summaries of Expert Opinion re
                          methylstenbolone, dimethazine, and methyl-1-etiocholenolol,
               64         and Web Capture from Blackstone Labs website.
               70         Search Warrant, 1:17-mc-11066 (N.D. Ga.)
                          Search warrants filed in 1:16-cr-00224, ECF No. 84-1 including,
               71         1:14-mc-0034, 1:14-mc-0035, 1:14-mc-0036, 1:14-mc-0037
                          Report & Recommendation, United States v. Soviravong, 2019
               72         WL 7906186
                          Report & Recommendation, United States v. Mesika 2019 WL
               73         2124899
